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                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NOTHERN DISTRICT OF WEST VIRGINIA
                                  WHEELING DIVISION

    In re: AMAZON CAPITAL                                §
    SERVICES, INC.,
                                                         §
    Proceedings to Enforce                               § Misc. Proceeding No. 5:24-mp-00006
    Fed. R. Bankr. P. 9036                               §

ORDER REQUIRING AMAZON CAPITAL SERVICES, INC., TO APPEAR THROUGH
         COUNSEL AT A STATUS CONFERENCE ON MAY 14, 2024

        The Administrative Office of the United States Courts has advised the Court that
AMAZON CAPITAL SERVICES, INC., has been designated as a high-volume paper-notice
recipient of bankruptcy notices under Federal Rule of Bankruptcy Procedure 9036. A high-volume
paper-notice recipient is currently defined as an entity that has been mailed 25 or more notices in
any calendar month by the Bankruptcy Noticing Center. Federal Rule of Bankruptcy Procedure
9036 mandates that high volume recipients (with limited exceptions) must receive electronic
notices.

        The Administrative Office of the United States Courts has advised the Court that
AMAZON CAPITAL SERVICES, INC., has failed to register to receive electronic bankruptcy
notices.

       On MAY 14, 2024 at 11:30 a.m., the Court will conduct a telephonic status conference to
determine what action should be taken to compel (if necessary) AMAZON CAPITAL
SERVICES, INC., to comply with Federal Rule of Bankruptcy Procedure 9036. AMAZON
CAPITAL SERVICES, INC., is ordered to appear at the status conference through counsel.
Counsel should be prepared to advise the Court on the steps that AMAZON CAPITAL
SERVICES, INC., is taking to assure comprehensive compliance with Federal Rule of
Bankruptcy Procedure 9036.1 To participate in the hearing, parties are instructed to dial (877)848-
7030 and provide access code 6500181# when prompted.

     In lieu of attendance at the scheduled status conference, AMAZON CAPITAL
SERVICES, INC., may complete and file Exhibit A, confirming that it has completed its

1
  In addition to any appropriate sanctions, failure to comply with this Order or register for electronic noticing will
result in the cessation of paper noticing from the U.S. Bankruptcy Courts and the creation of an electronic account
for you by the Bankruptcy Noticing Center, as set forth in Exhibit B.
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registration for electronic noticing and will receive court notices at an email address chosen by the
entity.2 Alternatively, AMAZON CAPITAL SERVICES, INC., may complete and file Exhibit
B, confirming that it wishes to receive its court notices at an electronic account created for the
entity by the Bankruptcy Noticing Center. Any completed exhibit and accompanying materials
must be filed with the Court not less than 72 hours prior to the commencement of the scheduled
status conference.

       The Clerk will serve this on AMAZON CAPITAL SERVICES, INC., by United States
Mail and file a Certificate of Service.




2
 Registration for electronic bankruptcy noticing is at the following web site:
https://bankruptcynotices.uscourts.gov/register.
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                                            EXHIBIT A

                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE NOTHERN DISTRICT OF WEST VIRGINIA
                              WHEELING DIVISION

 In re: AMAZON CAPITAL                         §
 SERVICES, INC.,
                                               §
 Proceedings to Enforce                        § Misc. Proceeding No. Error! Reference
 Fed. R. Bankr. P. 9036                        § source not found.

                   STATEMENT CONFIRMING REGISTRATION FOR
                      ELECTRONIC BANKRUPTCY NOTICING

       This Statement is filed on behalf of AMAZON CAPITAL SERVICES, INC.,.

         The entity identified above received the Court’s Order requiring attendance at a status
conference to assure compliance with the electronic noticing requirements of Federal Rule of
Bankruptcy Procedure 9036. The Order authorizes the filing of this statement in lieu of attendance
at the status conference.

       The entity identified above registered for electronic bankruptcy noticing on ___________.
The entity has attached to this statement a copy of the confirmation email it received from the
Bankruptcy Noticing Center reflecting that it has completed its registration for electronic noticing.
By registering for electronic bankruptcy noticing, the entity has agreed to receive its bankruptcy
notices from the U.S. Bankruptcy Courts at the email address identified on the attached
confirmation email from the Bankruptcy Noticing Center.

        The individual signing this statement represents that the individual is an authorized agent
of the entity identified above.



                               Signature:     _____________________________________

                           Typed Name:        _____________________________________

                                   Date:      _____________________________________
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                                            EXHIBIT B

                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE NOTHERN DISTRICT OF WEST VIRGINIA
                              WHEELING DIVISION

 In re: AMAZON CAPITAL                         §
 SERVICES, INC.,
                                               §
 Proceedings to Enforce                        § Misc. Proceeding No. Error! Reference
 Fed. R. Bankr. P. 9036                        § source not found.

  STATEMENT ACCEPTING ELECTRONIC COURT NOTICES AT AN ACCOUNT
          CREATED BY THE BANKRUPTCY NOTICING CENTER

       This Statement is filed on behalf of AMAZON CAPITAL SERVICES, INC.,.

         The entity identified above received the Court’s Order requiring attendance at a status
conference to assure compliance with the electronic noticing requirements of Federal Rule of
Bankruptcy Procedure 9036. The Order authorizes the filing of this statement in lieu of attendance
at the status conference.

         The entity identified above is aware that, beginning on June 24, 2024, it will no longer be
sent paper bankruptcy notices from the U.S. Bankruptcy Courts. The entity confirms that it wishes
to receive its bankruptcy notices from the U.S. Bankruptcy Courts at an electronic account created
for the entity by the Bankruptcy Noticing Center. The entity confirms that it will take the necessary
steps to access the electronic account in accordance with the instructions provided to the entity in
separate letters from the Bankruptcy Noticing Center.

        The individual signing this statement represents that the individual is an authorized agent
of the entity identified above.


                               Signature:     _____________________________________

                           Typed Name:        _____________________________________

                                   Date:      _____________________________________
